           Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.1 Page 1 of 16
AO 106 (Rev. 04/10) Application for a Search Warrant




                                                                    for the
                                                   Southern District of California

              In the Matter of the Search of                           )
         (Briefly describe the property to be searched                 )
          or identifY the person by name and address)

  Facebook user#1259784832 with Facebook vanity
                                                                       )
                                                                       )
                                                                                   Case No.
                                                                                                  18MJ5380
              name "Dave Williams"                                     )
                                                                       )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifY the person or describe the
property to be searched and give its location):

  See Attachment A, incorporated herein by reference.
located in the              Northern              District of              California
                                                                ~----------~
                                                                                                , there is now concealed (identifY the
person or describe the property to be seized):
  See Attachment B, incorporated herein by reference


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ri evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 ~property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                     Offense Description
        18 U.S.C. 2113(a)                          Bank Robbery and Attempted Bank Robbery



          The application is based on these facts:
        See attached Affidavit of Special Agent Brian Loveland

           ri Continued on the attached sheet.
           O Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                               --RVV q;L.,JaMe
                                                                                        Special Agent Brian Loveland, FBI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:
                                                                                                 Judge 's signature

City and state: San Diego, CA                                                      Hon. William V. Gallo, U.S. Magistrate Judge
                                                                                               Printed name and title
       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.2 Page 2 of 16




 1                        AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT
 2
           I, Brian H. Loveland, Jr., being first duly sworn, hereby depose and state as
 3
     follows:
 4
                                              I.
 5
                            PURPOSE OF THE AFFIDAVIT
 6
           1.     This affidavit is made in support of a search warrant for evidence of
 7
     crimes, specifically, violations of Title 18 U.S.C. § 2113(a), Bank Robbery and
 8
     Attempted Bank Robbery, for the following:
 9
                  a.    Facebook user #1259784832 with Facebook vanity name "Dave
10
                        Williams" and used by David Erin WILLIAMS. (Target
11
                        Account #1).
12
           2.     Based upon the following information, I believe there is probable
13
     cause to believe that, currently located within Attachment A, there is evidence of a
14
     crime, or property designed for use, intended for use, or used in committing a crime,
15
     and other related information material to the investigation of violation of 18 U.S.C.
16
     § 2113(a) (Bank Robbery and Attempted Bank Robbery), more particularly
17
     described in Attachment B.
18
           3.     This affidavit sets forth a full and complete statement of the facts
19
     necessary to justify the requested Order. Because this Affidavit is submitted for the
20
     limited purpose of establishing probable cause to search the locations set forth
21
     below for evidence of the crimes set forth herein, this document does not contain
22
     all of my knowledge of the larger investigation. Dates and times are approximate.
23
                                              II.
24
                             TRAINING AND EXPERIENCE
25
           4.     I am a Special Agent with the FBI and an "investigative or law
26
     enforcement officer of the United States" within the meaning of Title 18, United
27
       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.3 Page 3 of 16




 1   States Code, Section 2510(7). I am empowered to conduct investigations of, and to
 2 make arrests for, offenses enumerated in Title 18 and 21 of the United States Code.
 3   Prior to joining the FBI, I worked as a Clinical Research Coordinator with the
 4   University of North Carolina's Marsico Lung Institute, and as a Basic Emergency
 5   Medical Technician for Orange County Rescue Squad. In January 2018, I was hired
 6   as an FBI Special Agent. I am currently assigned to the Violent Crimes Task Force
 7   of the San Diego Field Office, where I investigate various crimes that include, but
 8   are not limited to, commercial robberies, bank robberies, kidnappings, extortions,
 9   and assaults on federal officers. Prior to being assigned to the San Diego Field
10   Office, I completed twenty-two weeks, approximately 850 hours, of training at the
11   FBI Academy in Quantico, Virginia. During the training, I received instruction in a
12   variety of investigative techniques commonly used in support of a wide range of
13   the FBI' s investigative priorities. The training included instruction regarding the
14   use of Confidential Human Sources, electronic and physical surveillance
15   techniques, law enforcement tactics, search and seizure laws and techniques,
16   interviewing strategies and skills, forensic techniques, and a variety of other
17   subjects.
18         5.     The following is based on my own investigation, oral and written
19   reports by other law enforcement officers, physical and electronic surveillance,
20   interviews, public records, database checks, searches, and other investigation. I
21   have also spoken with Agents, as well as other law enforcement officers about their
22   experiences, and the results of their investigations and interviews. I have become
23   knowledgeable of the methods and modes of bank robbers.
24         6.     In my training and experience, I have learned that individuals engage
25   in bank robberies often use their social media to conspire, plan and coordinate thei
26   criminal activities and that social media platforms retain evidence of their crime
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       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.4 Page 4 of 16




 1   such as communications, photographs, videos, contact information of co
 2   conspirators, location data, travel arrangements, and financial data that evidenc
 3   criminal activities. In particular, I know that individuals involved in robberies ofte
 4   utilize their Facebook accounts that contain:
 5                  a.    Photographs depicting clothing, disguises worn (e.g., masks o
 6   bandanas), weapons and materials used during the robbery, along with any proceed
 7   attained from the bank robbery;
 8                  b.    Communications with their coconspirators made about
 9   executing the robbery, to include coordinated and executing the flight from the ban
10   robbery;
11                  c.    Celebratory remarks after the successful completion of a ba
12   robbery;
13                  d.    Photographs depicting demand notes used during a ba
14   robbery; and
15                  e.    Communications about covering up or hiding their crimes an
16   escaping or hiding from law enforcement.
17                                            III.
18          BACKGROUND INFORMATION REGARDING FACEBOOK
19         7.       Facebook is a corporation that owns and provides a free-access online
20   social networking service and is headquartered in Menlo Park, California.
21   Facebook allows its users to establish accounts with Facebook, and users can then
22   use their accounts to share written news, photographs, videos, and other information
23   with other Facebook users, and sometimes with the general public.
24         8.       Facebook asks users to provide basic contact and personal identifying
25   information to Facebook, either during the registration process or thereafter. This
26   information may include the user's full name, birth date, gender, contact e-mail
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       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.5 Page 5 of 16




 1   addresses, Facebook passwords, Facebook security questions and answers (for
 2 password retrieval), physical address (including city, state, and zip code), telephone
 3   numbers, screen names, websites, and other personal identifiers. Facebook also
 4   assigns a user identification number to each account.
 5         9.     Facebook users may join one or more groups or networks to connect
 6   and interact with other users who are members of the same group or network.
 7   Facebook assigns a group identification number to each group. A Facebook user
 8   can also connect directly with individual Facebook users by sending each user a
 9   "Friend Request." If the recipient of a "Friend Request" accepts the request, then
10   the two users will become "Friends" for purposes of Facebook and can exchange
11   communications or view information about each other.          Each Facebook user's
12   account includes a list of that user's "Friends" and a "News Feed," which highlights
13   information about the user's "Friends," such as profile changes, upcoming events,
14   and birthdays.
15         10.    Face book users can select different levels of pnvacy for the
16   communications and information associated with their Facebook accounts. By
17   adjusting these privacy settings, a Facebook user can make information available
18   only to himself or herself, to particular Facebook users, or to anyone with access to
19   the Internet, including people who are not Facebook users. A Facebook user can
20   also create "lists" of Facebook friends to facilitate the application of these privacy
21   settings. Facebook accounts also include other account settings that users can adjust
22   to control, for example, the types of notifications they receive from Facebook.
23         11.    Facebook users can create profiles that include photographs, lists of
24   personal interests, and other information. Facebook users can also post "status"
25   updates about their whereabouts and actions, as well as links to videos, photographs,
26   articles, and other items available elsewhere on the Internet. Facebook users can
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       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.6 Page 6 of 16




 1   also post information about upcoming "events," such as social occasions, by listing
 2   the event's time, location, host, and guest list. In addition, Facebook users can
 3   "check in" to particular locations or add their geographic locations to their
 4   Facebook posts, thereby revealing their geographic locations at particular dates and
 5   times. A particular user's profile page also includes a "Wall," which is a space
 6   where the user and his or her "Friends" can post messages, attachments, and links
 7   that will typically be visible to anyone who can view the user's profile.
 8           12.   Facebook allows users to upload photos and videos, which may
 9   include any metadata such as location that the user transmitted when s/he uploaded
10   the photo or video. It also provides users the ability to "tag" (i.e., label) other
11   Facebook users in a photo or video. When a user is tagged in a photo or video, he
12   or she receives a notification of the tag and a link to see the photo or video. For
13   Facebook's purposes, the photos and videos associated with a user's account will
14   include all photos and videos uploaded by that user that have not been deleted, as
15   well as all photos and videos uploaded by any user that have that user tagged in
16   them.
17           13.   Facebook users can exchange private messages on Facebook with
18   other users. These messages, which are similar to e-mail messages, are sent to the
19   recipient's "Inbox" on Facebook, which also stores copies of messages sent by the
20   recipient, as well as other information. Facebook users can also post comments on
21   the Facebook profiles of other users or on their own profiles; such comments are
22   typically associated with a specific posting or item on the profile. In addition,
23   Facebook has a Chat feature that allows users to send and receive instant messages
24   through Facebook. These chat communications are stored in the chat history for
25   the account. Facebook also has a Video Calling feature, and although Facebook
26   does not record the calls themselves, it does keep records of the date of each call.
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       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.7 Page 7 of 16




 1         14.    If a Facebook user does not want to interact with another user on
 2   Facebook, the first user can "block" the second user from seeing his or her account.
 3         15.    Facebook has a "like" feature that allows users to give positive
 4   feedback or connect to particular pages. Facebook users can "like" Facebook posts
 5   or updates, as well as webpages or content on third-party (i.e., non-Facebook)
 6   websites. Facebook users can also become "fans" of particular Facebook pages.
 7         16.    Facebook has a search function that enables its users to search
 8   Facebook for keywords, usemames, or pages, among other things.
 9         17.    Each Facebook account has an activity log, which is a list of the user's
10   posts and other Facebook activities from the inception of the account to the present.
11   The activity log includes stories and photos that the user has been tagged in, as well
12   as connections made through the account, such as "liking" a Facebook page or
13   adding someone as a friend. The activity log is visible to the user but cannot be
14   viewed by people who visit the user's Facebook page.
15         18.    Facebook Notes is a blogging feature available to Facebook users, and
16   it enables users to write and post notes or personal web logs ("blogs"), or to import
17   their blogs from other services, such as Xanga, LiveJoumal, and Blogger.
18         19.    The Facebook Gifts feature allows users to send virtual "gifts" to their
19   friends that appear as icons on the recipient's profile page. Gifts cost money to
20   purchase, and a personalized message can be attached to each gift. Facebook users
21   can also send each other "pokes," which are free and simply result in a notification
22   to the recipient that he or she has been "poked" by the sender.
23         20.    Facebook also has a Marketplace feature, which allows users to post
24   free classified ads. Users can post items for sale, housing, jobs, and other items on
25   the Marketplace.
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       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.8 Page 8 of 16




 1         21.    In addition to the applications described above, Facebook also
 2   provides its users with access to thousands of other applications ("apps") on the
 3   Facebook platform.      When a Facebook user accesses or uses one of these
 4   applications, an update about that the user's access or use of that application may
 5   appear on the user's profile page.
 6         22.    Facebook uses the term "Neoprint" to describe an expanded view of a
 7   given user profile. The "Neoprint" for a given user can include the following
 8   information from the user's profile:      profile contact information; News Feed
 9   information; status updates; links to videos, photographs, articles, and other items;
10   Notes; Wall postings; friend lists, including the friends' Facebook user
11   identification numbers; groups and networks of which the user is a member,
12   including the groups' Facebook group identification numbers; future and past event
13   postings; rejected "Friend" requests; comments; gifts; pokes; tags; and information
14   about the user's access and use of Facebook applications.
15         23.    Facebook also retains Internet Protocol ("IP") logs for a given user ID
16   or IP address. These logs may contain information about the actions taken by the
17   user ID or IP address on Facebook, including information about the type of action,
18   the date and time of the action, and the user ID and IP address associated with the
19   action. For example, if a user views a Facebook profile, that user's IP log would
20   reflect the fact that the user viewed the profile, and would show when and from
21   what IP address the user did so.
22         24.    Social networking providers like Facebook typically retain additional
23   information about their users' accounts, such as information about the length of
24   service (including start date), the types of service utilized, and the means and source
25   of any payments associated with the service (including any credit card or bank
26   account number). In some cases, Facebook users may communicate directly with
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       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.9 Page 9 of 16




 1   Facebook about issues relating to their accounts, such as technical problems, billing
 2   inquiries, or complaints from other users.       Social networking providers like
 3   Facebook typically retain records about such communications, including records of
 4   contacts between the user and the provider's support services, as well as records of
 5   any actions taken by the provider or user as a result of the communications.
 6                                            IV.
 7    FACTS AND CIRCUMSTANCES ESTABLISHING PROBABLE CAUSE
 8         25.    On August 23, 2018, at approximately 1:55 p.m., an individual later
 9   identified as David Erin WILLIAMS entered the US Bank located at 1331
10   Rosecrans Street, San Diego, California 92106. WILLIAMS approached the bank
11   teller and passed an envelope and a demand note, which read, "If you don't want to
12   get hurt, put all of your 20s, 50s, and lOOs in the envelope."
13         26.    The teller, who was concerned for her safety, complied with
14   WILLIAMS' demand. The teller placed approximately $7 ,951 in United States
15   currency in the envelope, along with a tracking device.
16         27.    Using information provided by the tracking device, San Diego Police
17   Department ("SDPD") officers identified WILLIAMS' location. They determined
18   that the tracker was located in a white 1996 Ford Explorer, bearing California
19   license plate number 5RKA402. The Explorer is registered to David Erin
20   WILLIAMS.
21         28. SDPD officers followed WILLIAMS in the Explorer. The tracker
22   mirrored the movement of the Explorer, confirming that the tracker was in the
23   Explorer.
24         29.    SDPD officers attempted to conduct a traffic stop by using their lights
25   and sirens. However, WILLIAMS refused to yield and fled at a high rate of speed.
26   WILLIAMS led SDPD officers on a chase southbound on Interstate-5. WILLIAMS
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      Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.10 Page 10 of 16




 1   escaped into Mexico. As the Explorer entered Mexico, a SENTRI pass registered
 2   to WILLIAMS indicated that it had crossed into Mexico.
 3         30.   On August 31, 2018, the United States filed a Complaint charging
 4   WILLIAMS with Bank Robbery, in violation of 18 U.S.C. § 2113(a). An arrest
 5   warrant was also issued.
 6         31.   Following WILLIAMS' escape, FBI agents spoke with numerous
 7   witnesses and learned that WILLIAMS uses Target Account #1. One witness, in
 8   particular, showed FBI agents the Facebook Messenger exchange between
 9   WILLIAMS and the witness. On August 28, 2018, at approximately 2:05 p.m., for
10   example, WILLIAMS told the witness, "Sorry. I've been too embarrassed to tell
11   you I'm broke. I had to move out." Nevertheless, that story soon changed; on
12   August 29, 2018 at approximately 2:22 p.m., WILLIAMS told the same witness,
13   "Please don't go back to that house. I was attacked there. Some punk gang members,
14   I think they were from TJ. I didn't even fight back. I was a coward. One put a gun
15   to my head." This discussion occurred over Target Account #1.
16         32.   On September 17, 2018, WILLIAMS came to the San Ysidro Port of
17   Entry and self-surrendered. WILLIAMS was placed under arrest. Given the date of
18   the bank robbery, probable causes exists to search, as provided in Attachment B,
19   for the period from July 23, 2018, up to and including September 17, 2018.
20     PROCEDURES FOR ELECTRONICALLY STORED INFORMATION
21         33.   Federal agents and investigative support personnel are trained and
22   experienced in identifying communications relevant to the crimes under
23   investigation. The personnel of Facebook are not. It would be inappropriate and
24   impractical for federal agents to search the vast computer network ofFacebook for
25   the relevant accounts and then to analyze the contents of those accounts on the
26   premises ofFacebook. The impact on Facebook's business would be severe.
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      Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.11 Page 11 of 16




 1         34.    I   anticipate    executing    this   warrant   under    the    Electronic
 2   Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A)
 3   and 2703(c)(1 )(A), by using the warrant to require Facebook to disclose to the
 4   government copies of the records and other information (including the content of
 5   communications) particularly described in Section II of Attachment B.             Upon
 6   receipt of the information described in Section II of Attachment B, govemment-
 7   authorized persons will review that information to locate the items described in
 8   Section III of Attachment B.
 9         35.    Based on the foregoing, searching the recovered data for the
10   information subject to seizure pursuant to this warrant may require a range of data
11   analysis techniques and may take weeks or even months. Keywords need to be
12   modified continuously based upon the results obtained. The personnel conducting
13   the segregation and extraction of data will complete the analysis and provide the
14   data authorized by this warrant to the investigating team within ninety (90) days of
15   receipt of the data from the service provider, absent further application to this court.
16         36.    Based upon my experience and training, and the experience and
17   training of other agents with whom I have communicated, it is necessary to review
18   and seize all electronic communications that identify any users of the subject
19   account(s) and any electronic mails sent or received in temporal proximity to
20   incriminating electronic mails that provide context to the incriminating mails.
21         37.    All forensic analysis of the imaged data will employ search protocols
22   directed exclusively to the identification, segregation and extraction of data within
23   the scope of this warrant.
24                                     CONCLUSION
25         38.    In conclusion, based upon the information contained in this affidavit,
26   I have reason to believe that evidence of a crime, and property designed for use,
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                                                10
      Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.12 Page 12 of 16




 1   intended for use, or used in committing a crime, relating to violations of 18 U.S.C.
 2   § 2113(a), as more particularly described in Attachment B, are located at the
 3   location described in Attachments A.
 4

 5
                                     Brian Loveland, Specia Agent
 6                                   Federal Bureau of Investigation
 7
 8   SUBSCRIBED and SWORN to before me this            /r-day of October 2018.
 9
10
                                     Hon. WILLIAM V. GALLO
11
                                     United States Magistrate Judge
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   Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.13 Page 13 of 16




                                ATTACHMENT A
                        PROPERTY TO BE SEARCHED


     Information associated with the Facebook account that is stored at prermses
controlled by Facebook, a company whose headquarters is located at 1601 Willow Road,
Menlo Park, CA:


      a. Facebook user #1259784832 with Facebook vanity name "Dave Williams" and
        used by David Erin WILLIAMS (Target Account #1).
      Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.14 Page 14 of 16




                                    ATTACHMENT B

I.      Service of Warrant

     The officer executing the warrant shall permit Facebook, Inc., as custodian of the
computer files described in Section II below, to locate the files and copy them onto
removable electronic storage media and deliver the same to the officer.

II.    Items to be Provided by Facebook, Inc.
       Any and all records, files, logs, or information (whether deleted or not) concerning:
       A.     All records or other information regarding the identification of the account, to
include subscriber information, full name, physical address, telephone numbers and other
identifiers, records of session times and durations, the date on which the account was
created, the length of service, the IP address used to register the account, log-in IP addresses
associated with session times and dates, account status, e-mail addresses provided during
registration, methods of connecting, log files, and means and source of payment (including
any credit or bank account number);
       B.     Any and all phone detail identification information;
       C.     All videos stored by an individual using this account;
       D.     All contact and personal identifying information, including full name, user
              identification number, birth date, gender, contact e-mail addresses, Facebook
              passwords, Facebook security questions and answers, physical address
              (including city, state, and zip code), telephone numbers, screen names,
              websites, and other personal identifiers.
       E.     All activity logs for the account and all other documents showing the user's
              posts and other Facebook activities;
       F.     All Photoprints, including all photos uploaded by that user ID and all photos
              uploaded by any user that have that user tagged in them to include EXIF data;
       G.     All Neoprints, including profile contact information; News Feed information;
              status updates; links to videos, photographs, articles, and other items; Notes;
              Wall postings; friend lists, including the friends' Facebook user identification
              numbers; groups and networks of which the user is a member, including the
              groups' Facebook group identification numbers; future and past event
              postings; rejected "Friend" requests; comments; gifts; pokes; tags; and
              information about the user's access and use of Facebook applications;
       H.     All other records of communications and messages made or received by the
              user, including all private messages, chat history, video calling history, and
              pending "Friend" requests;
       I.     All "check ins" and other location information;
       Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.15 Page 15 of 16




         J.   All IP logs, including all records of the IP addresses that logged into the
              account;
         K.   All records of the account's usage of the "Like" feature, including all
              Facebook posts and all non-Facebook webpages and content that the user has
              "liked"·
                     '
         L.   All information about the Facebook pages that the account is or was a "fan"
              of-,
         M.   All past and present lists of friends created by the account;
         N.   All records ofFacebook searches performed by the account;
         0.   All information about the user's access and use ofFacebook Marketplace;
         P.   The length of service (including start date), the types of service utilized by the
              user, and the means and source of any payments associated with the service
              (including any credit card or bank account number);
         Q.   All privacy settings and other account settings, including privacy settings for
              individual Facebook posts and activities, and all records showing which
              Facebook users have been blocked by the account;
         R.   All records pertaining to communications between Facebook and any person
              regarding the user or the user's Facebook account, including contacts with
              support services and records of actions taken.
         S.   All email communications to include but not limited to; sent, received,
              deleted, drafted, and stored in the accounts listed above.
         T.   All Facebook Messenger communications to include but not limited to; sent,
              received, deleted, drafted, and stored in the accounts listed above.

III.    Items to be Seized as Evidence

        The search of the data supplied by the Facebook, Inc. pursuant to this warrant will
        be conducted by FBI as provided in the "Procedures For Electronically Stored
        Information" of the affidavit submitted in support of this search warrant and will be
        limited to the seizure of data, such as communications, records, photos, videos, and
        location data, for the period from July 23, 2018, up to and including September
        17, 2018:

        a.    tending to identify attempts to coordinate and commit bank robberies in the
              San Diego area;

        b.    tending to identify accounts, facilities, storage devices, and/or services-such
              as email addresses, IP addresses, and phone numbers-used to facilitate bank
              robberies in the San Diego area;
   Case 3:18-mj-05380-WVG Document 1 Filed 10/16/18 PageID.16 Page 16 of 16




      c.    tending to identify participants, co-conspirators, criminal associates, or others
            involved in bank robberies in the San Diego area;

      d.    tending to identify travel to or presence at locations involved in bank robberies
            in the San Diego area, such as locations where get-away vehicles were stolen
            or abandoned, locations robbed, or scouted for robbery, safe houses or hotels
            used as safe houses;

      e.    tending to identify the user of, or persons with control over or access to, the
            subject account; and/or

      f.    tending to place in context, identify the creator or recipient of, or establish the
            time of creation or receipt of communications, records, or data involved in the
            activities described above;

which are evidence of violations of Title 18, United States Code, Section 2113(a).
